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Counsel for Defendants

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


                                                 )
 MedWell LLC, a limited liability company        )
                                                 )
         Plaintiff,                              )
                                                 )
 v.                                              )
                                                 )   Case No. 2:20-cv-10627-KM-ESK
 CIGNA Corporation; CIGNA Health and             )
 Life Insurance Company; CIGNA                   )
 Healthcare of New Jersey, Inc.;                 )   Document Filed Electronically
 Connecticut General Life Insurance              )
 Company; John Does and Jane Does 1-20;          )
 and XYZ Corporations and ABC                    )
 Partnerships 1-20,                              )
                                                 )
         Defendants.                             )


 DECLARATION OF JOHN DIMANNO IN SUPPORT OF DEFENDANTS’ SURREPLY
         IN OPPOSITION TO PLAINTIFF’S MOTION TO REMAND

       1.       My name is John DiManno, and I am over eighteen (18) years of age, under no

legal disability, and competent in all ways to give this declaration.

       2.       I am duly authorized to make this declaration on behalf of Cigna. I have the

personal knowledge of the following facts or have learned those facts by reviewing Cigna’s

business records kept in the ordinary course of business. If sworn as a witness, I could competently

testify to the facts contained herein
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         3.        My position at Cigna is Senior Advisor in the Special Investigations Unit (“SIU”).

I have worked for Cigna for over three (3) years.

         4.        In that role, I am responsible for advising the SIU in connection with investigations

and litigation concerning health-care fraud, waste, and abuse. Through my responsibilities with

Cigna, I am familiar with the benefit plans that Cigna insures and/or administers.

         5.        I have reviewed the Declaration of Steven Penaro (the “First Penaro Declaration”)

(Dkt. Nos. 13-1, 13-2), counsel for Cigna in the above-captioned action, and all attached exhibits.

         6.        I have also reviewed the Second Declaration of Steven Penaro (the “Second Penaro

Declaration”) (Dkt. No. 22-1), and all attached exhibits.

         7.        Attached to the First Penaro Declaration are copies of excerpts of claims for

reimbursement submitted to Cigna by Plaintiff Medwell, LLC (“Medwell”), for services rendered

to subscribers or beneficiaries of benefit plans insured and/or administered by Cigna that received

services at Medwell between September 10, 2019 and June 5, 2020.

         8.        Among those claims for reimbursement is a claim submitted by Medwell on behalf

of patient C.B.1 for services that C.B. received from Medwell on September 10, 2019.

         9.        Attached to the Second Penaro Declaration are true and accurate select pages of the

Venus Laboratories, Inc. Open Access Plus Medical Benefits Summary Plan Description (“Venus

Laboratories Plan”) dated January 1, 2018.

         10.       On the dates that C.B. purportedly received services from Medwell, she was a

beneficiary of the Venus Laboratories Plan.




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  The initials of the patient instead of the full patient name are used to protect the patient’s individually identifiable
health information in accordance with the federal Health Insurance Portability and Accountability Act of 1996 and
its implementing regulations.


                                                             2
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       11.     The Venus Laboratories Plan is governed by the Employee Retirement Income

Security Act of 1974, as amended, (“ERISA”), 29 U.S.C. § 1001 and includes the following

provision on page 51: “Medical benefits are assignable to the provider.”

       12.     Also among the claims for reimbursement attached to the First Penaro Declaration

is a claim submitted by Medwell on behalf of patient C.Y. for services that C.Y. received on

October 1, 2019.

       13.     Attached to the Second Penaro Declaration are true and accurate select pages of the

Harris Corporation Comprehensive Medical Benefits Summary Plan Description (Harris

Corporation Plan”) dated January 1, 2017.

       14.     On the dates that C.Y. purportedly received services from Medwell, she was a

beneficiary of the Harris Corporation Plan.

       15.     The Harris Corporation Plan is governed by ERISA and includes the following

provision on page 34: “Medical benefits are assignable to the provider.”



       I declare under penalty of perjury that the foregoing is true and correct.

       Executed this 1st day of November 2020, in Hartford, Connecticut.




                                                                  Z7z;
                                              John DiManno




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